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                         United States District Court
                               NORTHERN    DISTRICT OF TEXAS
                                       DALLAS   DIVISION


 MAGHSOUD TAGHAVI                               §
v.                                              :   CIVIL ACTION NO. 3:21-CV-2557-S-BN
 ENRIQUE LEBLANC SOTO, et al.                   :
                                           ORDER

       The United States Magistrate Judge made findings, conclusions, and a recommendation in

this case. No objections were filed. The Court reviewed the proposed findings, conclusions, and

recommendation for plain error. Finding none, the Court ACCEPTS      the Findings, Conclusions,

and Recommendation of the United States Magistrate Judge.

       SO ORDERED.

       SIGNED    September 13, 2024.                KS.




                                                    UNITED STATES DISTRICT JUDGE
